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                                                                                          Oct 6, 2021

                             UM TED STATES DISTRICT COURT
                             SOUTH ERN DISTRICT OF FLORIDA

                                    21-80152-CR-MARRA/MATTHEWMAN
                          C ase N o.
                                        18U.S.C.j371
                                        18U.S.C.j545
                                        18U.S.C.j982(a)(2)(B)
  UM TE D STA TES O F A M ER ICA

  V S.

  LUIS ANARBOL M OM N,
        a/lda LuisM oran Gor alez,

                D efendant.


                                         IND ICTM ENT

         The Grand Jury charges that:

                                  GEN ER M ,ALLE G ATIO N S
         At al1tim esrelevantto this lndictm ent:

                TheUnited StatesFoodandDrugAdministration (tTDA'')wasan agency ofthe
  Urlited Statesresponsibleforprotectingthehealth and safety oftheAm erican publicby asslzring,

  am ong otherthings,thatdnzgssold foradm inistration to humanswere safe and effective forthe

  intended usesand borelabeling containing '
                                           true,complete,and accurateinformation. The FD A 'S

  responsibilities included regulating the labels,labeling,m anufacture,and distribution of drtzgs

  shipped orreceived in interstate com m erce.

                The FederalFood,Drug and Cosmetic Act(FDCA)defined the term ldrug'to
  include(1)articlesthatwel'eintended foruseinthediagnosis,c'
                                                            ure,treatmentorprevention of
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  diseaseinhumans;or(2)articles(otherthalafood)thatwereintendedtoaffectthestrtzcttlreoralay
  ftmctionofthebody ofhumans.21U.S.C.j353(b)(1)(A).
                U nderthe FD CA ,aprescription dnlg w as,nm ong otherthings,a dnzg intended for

  useby humanswhich,becauseofitstoxicity orotherpotentiality forhannfuleffect,orthem ethod

  ofitsuse,orthe collateralm easures necessary to itsuse,wasnotsafe foruse excepttm derthe

  supelwision ofapractitionerlicensed by 1aw to administersuch drug;ora drugwhich waslim ited

  by anapprovedapplication under21U.S.C.j355touseundertheprofessionalsupervision ofa
  practitionerlicensedby1aw toadmirlistersuchdrtzg.21U.S.C.j353(b)(1).
         4.     The FDCA defined the term Elabel'as a display of written,pdnted,or graphic

  matterupon theimmediate containerofany article.21U.S.C.j321(k).TheFDCA defined the
  term Glabeling' as al1 labels and other printed or graphic m atter upon any article or any of its

  containersorwrappers,oraccompanying such article.21U.S.C.j321(m).
         5.     Products containing botulinum neurotoxin Type A (Gtbottzlinllm toxin'') and
  intendedforinjectionin hllmanstotreatfacialm inkleswereprescription dnlgs.
                TheFDCA definedmanywaysadrugwasdeemedmisbranded,including:(a)ifits
  label did not bear the established nnme and quantity of each active ingredient, 21 U.S.C.

  j352(e)(1)(A);(b)ifitdid notbeara labelcontaining thennme and place ofbusinessofthe
  manufacturer,packer,ordistributor,21U.S.C.j352(b)(1);and (c)ifitwasaprescription drug
  anditslabelfailedtobearthesymbol(ûR only,''21U.S.C.j353(b)(4)(A).Allwords,statements,
  and other inform ation required to appear on the label m ust appear in English. 21 C.F.R .

  j201.15(c)(1).


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                UndertheFD CA ,a drug w asaEGnew dnlg''ifitw asnotgenerally recognized am ong

  qualified expertsassafe and effectiveforusetm derthe conditionsprescribed,recom mended,or

  suggestedinthednlg'slabeling.21U.S.C.j321(.
                                            19(1).TheFDCA prollibitedtheintroduction of
  a new drug into interstate com m erce tm lessthe FD A had approved a new drug application oran

  abbreviated new dnzg application with respectto such drtzg,or such drug was exem pted from

  approvalpursuanttoaneffectiveinvestigationalnew drugapplication.21U.S.C.j355(a),(b),(i),
  and ().
                                           C O UN T I
                      C onspiracy to Sm uggle G oods into theU nited States
                                          18U.S.C.j371
                The G eneral A llegations of this Indictm ent are realleged and incorporated by

  referenceasiff'ully setforth herein.

                B eginning no later than in or arotm d A ugust 2016,the exad date being lm know n

  to the Grand Jury,and continuing through on oraboutA ugust10,2018,in Palm B each County,in

  the Southern DiskictofFlorida,and elsewhere,thedefendant,

                                   LIJIS ANARBOL M OM N ,
                                   a/k/a L uisM oran G onzalez,
  did knowingly and willo lly combine,conspire,confederate,and agreewith personsknown and

  unknown to the Grand Jury,to com mit an offense against the United States,specifically,to

  know ingly im portand bring into the U nited States m erchandise contrary to law ,in violation of

  Title 18,U nited States Code,Section 545.

                ltisfurtheralleged thatthem erchandise w as im ported and broughtinto the United

  Statescont'
            rary toTitle21,United StatesCode,Sedion331(a),prohibitingtheintroduction into
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  interstate com m erce of any drug that is misbranded, arld Title 21, Urlited States Code,

  Sections331(d)and 355(a),prohibiting theintroduction into interstatecommerce ofnew dnzgs
  thatwereneitherapprovednorexemptâom approvalpursuantto theFDCA.

                                   Purpose ofthe Conspiracy

         4.     Itw as the pup ose of the conspiracy forthe defendant and his conspirators to

  llnlawfully enrich them selves through the adm inistration of m isbranded and unapproved new

  prescription dzugscontaining botulinum toxin to treatfacialwzinkles.

                             M anner and M eans ofthe C onspiracy

         Them nnnerandm eansby which thedefendantandhisconspiratorssoughtto accomplish

  theobjectandpurposeoftheconspiracyincluded,butwerenotlimitedto,thefollowing:
         5.     ConspiratorA w as a resident of Palm Beach County who w as licensed to apply

  perm anentmakeup andalsoperfonued othercosm eticprocedtlres.

         6.     ConspiratorA ordered prescription clnlgs containing botulinum toxin from the

  defendant,L uisA narbolM oran.

                ConspiratorA deposited cash in thebank accountofthe defendant,LuisAnarbol

  M oran,to pay forthe drugs she ordered.

         8.     ConspiratorA specified variousnnm esand addressesto which thedefendant,Luis

  A narbolM oran,should ship the drugs,including addressesin the Southern DistrictofFlorida.

         9.     The defendant,L uis A narbol M oran,sllipped m isbranded and tm approved new

  drugsfrom M exico and otherlocationsto the nam esand addresses specified by ConspiratorA .

         10.    The shipm ents ofthe defendant,L uisA narbolM oran,to ConspiratorA included

  vials of tm approved new drugs containing bottzlinum toxin,including vials thatw ere labeled as
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  GçNettroxin''and Cçcaspis.''TheNeuroxin wasm isbranded in thatitdid notbeara labelcontaining

  the nam e ofthe m anufacturer,packer,ordistributorand itwas aprescription dnlg,butitslabel

  failed to bearthe sym bol<GR only.''The Caspiswasm isbranded irlthatitslabeldid notbearthe

  establishednam eandquantityofeachactiveingredient;itdidnotbearalabelcontainingin English

  thennmeandplaceofbusinessofthem anufacturer,packer,ordistributor;and itwasaprescription

  drtzg,butitslabelfailed to bearthe sym bolE(R only.''

                ConspiratorA administeredthedrugsby injection to hercustomerstotreatfacial
  w rinkles.

         12.    ConspiratorA attem pted to help the defendant,Luis A narbolM oran,find other

  custom ers who would buy such drugs from M oran.

                ConspiratorA attempted to help the defendant,Luis AnarbolM oran,prevent

  competitorsfrom sellingsuch ànlgstoM oran'scustomers.
                                            O vertA cts

         Infurtheranceoftheconspiracy,andtoaccomplishitsobjectandpurpose,atleastoneof
  the conspirators com m itted and caused to be com m itted,in the Southern Districtof Florida,and

  elsewhere,atleastoneofthefollowing ovel'tacts,nmong others:

         14.    On oraboutAugust29,2016,ConspiratorA referred apotentialnew custom erto

  the defendant,Luis A narbolM oran.

         15.    On or about M arch 28, 2017, ConspiratorA agreed to give the W hatsApp

  infonnation ofthe defendant,LuisAnarbolM oran,to ConspiratorA'sfriend so thatthe friend

  could decide whetherto buy drugs from M oran.



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         16.    On oraboutApril 13,2017,ConspiratorA deposited $1860 in cash in the bank

  accountofthedefendant,LuisAnarbolM oran.

         17.    On oraboutApril17,2017,the defendant,LuisA nyrbolM oran,caused apackage

  tobeshippedf'
              rom Guadalajara,M exico,to ConspiratorA inPalm Beach Cotmty,Florida.
         18.    On or aboutSeptember21,2017,ConspiratorA deposited $2450 in cash in the
  bnnk accotm tofthe defendant,LuisA narbolM oran.

         19.    On oraboutSeptem ber21,2017,the defendant,LuisAnarbolM oran,caused a

  package to be shipped from Guadalajara,M exico,to ConspiratorA in Palm Beach Colm ty,
  Florida.

         20.    On oraboutJanuary 10,2018,ConspiratorA agreed to talk to afriend to seeifthe

  friendwanted to buy dnzgsfrom the defendant,LuisAnarbolM oran.ConspiratorA and M oran

  discussedthepricesatwhich M oran w ould selldrugsto ConspiratorA'sfriend.

                On or aboutJtme 25,2018,ConspiratorA deposited $1300 in cash in the bnnk
  accotmtofthedefendant,LuisAnarbolM oran.

         22.    On oraboutJtme25,2018,thedefendant,LuisAnarbolM oran,caused apackage

  tobeshippedfrom Guadalajara,M exico,toConspiratorA inPalm Beach Cotmty,Florida.
        A 11in violation ofTitle 18,United StatesCode,Section 371.

                                            C O UN T 2
                              Sm uggling G oods into the U nited States
                                          18U.S.C.j545
         On oraboutApril17,2017,in Palm Beach Cotmty,intheSouthern DistrictofFlorida,and

  elsew here,the defendant,



                                                 6
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                                   LU IS A NA R BO L M O M N ,
                                   a/lk/a Luis M oran G onzalez,

  did knowingly importarld bring into the Ulaited Statesmerchmzdise contrary to law,in violaticm

  ofTitle 18,U nited StatesCode,Sections545 and 2.

         Itisfurtheralleged thatthem erchandisewasim ported and broughtinto the Urlited States

  contrarytoTitle21,UnitedStatesCode,Section 331(a),prohibitingtheintroductionintointerstate
  commerceofany drugthatismisbranded,andTitle21,United StatesCode,Sections331(d)and
  355(a),prohibiting the introduction into interstate commerce ofnew drugs thatwere neither
  approved nor exem ptfrom approvalptlrsuantto the FD CA .

                                           C O UN T 3
                             Sm uggling G oods into the U nited States
                                          18U.S.C.j545
         On oraboutSeptem ber21,2017,in Palm Beach County,inthe Southern D istrictofFlorida,

  and elsewhere,the defendant,

                                   LUIS ANARBOL M OM N ,
                                   a/k/a LuisM oran G onzalez,
  did know ingly im portand bring into the U nited States m erchandise contrary to law ,in violation

  of Title 18,U nited States Code,Sections 545 and 2.

         Itisftzrtheralleged thatthem erchandisewasimported and broughtinto theUnited States

  contrarytoTitle21,UzlitedStatesCode,Section331(a),prollibitingtheintroductionintointerstate
  commerceofany drugthatismisbranded,andTitle21,UnitedStatesCode,Sections331(d)and
  355(a),prohibiting the introduction into interstatecommerce ofnew drugs thatwere neither
  approved norexem ptfrom approvalpursuantto the FD CA .
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                                            C O U NT 4
                              Sm uggling G oods into the United States
                                          18U.S.C.j545
         On oraboutJune25, 2018,l
                              ' in Palm Beach County,inthe Southern DistrictofFlorida,and

  elsew here,the defendant,

                                    LUIS ANARBOL M OM N,
                                    a/k/a L uis M oran G onzalez,

  did lfnowingly importalld bring into the United Statesm erchandise contrary to law,in violation

  ofTitle 18,Urlited States Code,Sections 545 and 2.

         Itis further alleged thatthe m erchandise w as im ported and broughtinto the U nited States

  cont'
      rarytoTitle21,UnitedStatesCode,Section331(a),prohibitingtheintroductionintointerstate
  commerceofany dt'ugthatismisbranded,andTitle21,United StatesCode,Sections331(d)and
  355(a),proltibiting the introduction into interstate commerce ofnew drugsthatwere neither
  approved nor exem ptfrom approvalpur
                                     'suantto the FD CA .

                                  FO R FEITU RE A LLEG A TIO N S

                TheallegationsofthisIndictmentarehereby re-alleged and by tllisreferencefully

  incorporatedherein forthepurposeofalleging forfeituretotheUnited StatesofAm ericaofcertain

  property in w hich the defendant,Luis Anarbol M oran,a/k/a Luis M oran G onzalez,has an

  interest.

         2.     U pon conviction of a violation,or conspiracy to com m it a violation,of Title 18,

  United States Code,Section 545,asalleged in thisIndictm ent,thedefendantshallforfeitto the

  llréted States'
                .

                a.      A ny m erchandise introduced into the U nited States as a result of such
                        violation,or the value thereof,pursuant to Title 18,U rlited States Code,

                                                 8
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                      Section 545,.and
               b.     Any property constituting,or derived from ,proceeds obtained directly or
                      indirectly,asaresultofsuch violation,ptzrsuantto Title 18,United States
                      Code,Section982(a)(2)(B).
        A11ptlrsuantto Title 18,United States Code,Sections 545 and 982(a)(2)(B) and the
  proceduressetforth in Title 21,United StatesCode,Section 853,as made applicable hereto by

  Title18,UnitedStatesCode,Section982(b)(1).
                                                  A TRU E BILL



                                                  FO     ER SON




  lllu A     ON1O GONZALEZ
  A CTIN      ITED STA TES A TTORN EY


    >          Q
  M A RC O SB ORN E
  A SSISTAN T UN ITED STA TES A TTORN EY




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                            UM TED STATESDISTRIG COURT
                           SOW HERNDISTRICT OFFLORIDA

  W TED STATESOFW                W CA                  CASE NO.
   V.
                                                       C ERTIFICATE OF TR IAL ATTO RNEY.
   LUIS ANARBOL MORAN
                                                       Superseding CaseInformation:
                  Defendant.                   /
        '

    CourtDivision:tselect()nel                         Newdefendantls) I--IYes I
                                                                               S No
    N Miami r-lKeyWest N FI'L                          Numberofnewdefendants
    I
    '
    Z WPB F-IFIT                                       Totalnumberofcounts
        1. lhavecarefully consideredtheallegationsoftheindictm ent,thenumberofdefendants,thenumberofprobable
           witnessesandthelegalcomplexitiesofthelndictment/lnform ation attachedhereto.
        2. 1am awarethattheinform ation supplied onthisstatementwillberelied upon bytheJudgesofthisCourtin
           settingtheircalendarsand schedulingcriminaltrialsunderthem andateoftheSpeedy TrialAct,
           Title28 U.S.C.Section 3161.
        3.Interpreter:(YesorNo)Yes
           Listlanguageand/ordialect Spanish
        4. Thiscase willtake 7 daysforthepartiestotry.
        5.Pleasecheck appropriatecategory and typeofoffenselistedbelow:
              (Checkonlyone)                           (Checkonlyone)
            1     0to5days               (71             Petty                  (71
            11    6to 10 days            (Z              M inor                 r'l
            111   11to20days             (7l             Misdemeanor            EI
            IV    21to60days             (7I             Felony                 Ezql
            V     61daysandover          rql
        6.HasthiscasepreviouslybeenfiledinthisDistrictCoul'
                                                          t? (YesorNo) NO
             lfyes:Judge                               CaseN o.
             (Attach copyofdispositiveorder)
             Hasacomplaintbeenfiledinthismatter? (YesorNo) No
             lfyes:M agistrateCase No.
             Related miscellaneousnumbers:
             Defendantts)infederalcustodyasof
             Defendantts)instatecustodyasof
             Rule20 from theDistrictof
             Isthisapotentialdeathpenaltycase?(YesorNo) NO
             Doesthiscase originatefrom am atterpendingin theCentralRegionoftheU.S.Attorney'sOffice priorto
             August9,2013(M ag.JudgeAlicia0.Valle)?(YesorNo) No
             Doesthiscase originatefrom am atterpending in theNorthern Region oftheU.S.Attorney'sOffice priorto
             August8,2014(M ag.JudgeShaniekMaynard?(YesorNo) No
        9. Doesthiscmse originatefrom am atterpending in theCentralRegionoftheU .S.Attorney'sOfticepriorto
             October3,2019(M ag.JudgeJaredStrauss)?(YesorNo) No
                                                                            I



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                                                                    M ARC O SBO RNE
                                                                    AssistantUnited States Attorney
                                                                    CourtID No.      A5500796
*penaltySheetls)attached                                                                              REV 3/19/21
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                           UNITED STATES DISTRICT COURT
                           SO UTHER N DISTRICT O F FLO RIDA

                                     PENA LTY SH EET

    Defendant's Nam e: LUIS ANA RBOL M ORAN

    Case No:

    Count#:1

       Consniracv to Sm unnle G oods into the United States

       Title 18 U.S.C.5 371

    *Max.penalty:5years'incarceration,threeyears'supervised release,$250,000 fine,
    m andatory $100 specialassessment
    Counts #:2-4

       Sm uqqlinq

       Title 18 U.S.C.: 545

    *Max.penalty:20 years'incarceration,five years'supervised release,$250,000 fine,
    mandatory$100specialassessment
